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                                     UNITED STATES DISTRICT COURT
                                      NORTHERN DISTRICT OF OHIO
                                           EASTERN DIVISION


      UNITED STATES OF AMERICA,                                )           CASE NO. 1:11-cr-00437
                                                               )
                                                               )
                                PLAINTIFF,                     )           JUDGE SARA LIOI
                                                               )
      v.                                                       )
                                                               )           MEMORANDUM OPINION
      ANTHONY O. CALABRESE, III,                               )
                                                               )
                                                               )
                                DEFENDANT.                     )

             Defendant Anthony O. Calabrese, III (“Calabrese”) moves this Court to apply time credits

  that he earned pursuant to the First Step Act (“FSA”) to reduce his remaining term of supervised

  release. (Doc. No. 153 (Motion).) Plaintiff United States of America (the “government”) filed a

  response (Doc. No. 154 (Response)1), but it failed to address the issue that Calabrese’s motion

  raises: can this Court apply Calabrese’s unused FSA time credits to reduce his term of supervised

  release? Having considered the plain text and structure of the First Step Act, the Court finds that

  Calabrese’s motion must be DENIED.

I.         BACKGROUND

             In December 2018, Congress directed the Attorney General, acting through the Bureau of

  Prisons (“BOP”), to develop a “risk and needs assessment system” for federal prisoners. First Step

  Act, § 101(a), 132 Stat. at 5195; see also 18 U.S.C. § 3632(a). That assessment system would be

  used to “determine the type and amount of evidence-based recidivism reduction programming that

  is appropriate for each prisoner and assign each prisoner to such programming accordingly.” 18


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      Calabrese also filed a reply to the government’s response. (Doc. No. 155 (Reply).)
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U.S.C. § 3632(a)(3). Congress also created new “incentives and rewards for prisoners” who

successfully completed the recidivism-reduction programming to which they were assigned. Id. §

3632(d).

       One significant incentive was a new type of “time credit.” Id. § 3632(d)(4). Eligible federal

prisoners could earn up to 15 days of such credits for “every 30 days of successful participation in

evidence-based recidivism reduction programming or productive activities.” Id. § 3632(d)(4)(A).

The relevant statute provides that:

       Time credits earned . . . by prisoners who successfully participate in recidivism
       reduction programs or productive activities shall be applied toward time in
       prerelease custody or supervised release. The Director of the Bureau of Prisons
       shall transfer eligible prisoners, as determined under section 3624(g), into
       prerelease custody or supervised release.

Id. § 3632(d)(4)(C). Specifically, once a prisoner’s earned-time credits “equal[ed] . . . the

remainder of [his] imposed term of imprisonment,” id. § 3624(g)(1)(A), the credits would be

“applied toward time in prerelease custody,” which is defined as placement on home confinement

or in a residential reentry center. Id. § 3624(g)(1)(A), (g)(2). And where a prisoner’s sentence

included a term of supervised release, the BOP could also “transfer the prisoner to begin any such

term of supervised release at an earlier date, not to exceed 12 months, based on the application of

[the earned] time credits . . . .” Id. § 3624(g)(3). Thereby, a prisoner transferred to prerelease

custody serves the remainder of his custodial sentence at home or in community custody, rather

than in a traditional BOP prison facility. Id. § 3624(g)(2). And a prisoner transferred to supervised

release early, see id. § 3624(g)(3), serves his entire imposed term of supervised release, but can

begin serving that term a maximum of one year earlier than the prisoner otherwise would.



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           On June 20, 2013, this Court sentenced Calabrese to a 108-month term of imprisonment,

   with three years of supervised release. (Doc. 119.) Calabrese represents that he completed his

   entire term of imprisonment without any incident reports and began his term of supervised release

   on or about May 1, 2020. Calabrese’s term of supervised release is scheduled to expire on April

   30, 2023. (Doc. 145.)

           Calabrese further represents, and the government seems to concede (although the Court

   has not received any documentation from the BOP)2, that Calabrese participated in several FSA-

   eligible programs, earning him approximately eight months in time credits. (Doc. No. 153, at 2–3;

   see also Doc. No. 154, at 2 (“Although [Calabrese] does appear to qualify for the Evidence-Based

   Recidivism Reduction Program Incentives under 18 U.C.S. § 3632(d) . . . .).) Calabrese now asks

   this Court to apply those time credits to reduce his remaining approximately three months of

   supervised release, to zero.

II.    DISCUSSION

           “[T]he starting point in construing a statute is the language of the statute itself,” Randall v.

   Loftsgaarden, 478 U.S. 647, 656, 106 S. Ct. 3143, 92 L. Ed. 2d 525 (1986), but “[s]tatutory

   language has meaning only in context.” Graham Cnty. Soil & Water Conservation Dist. v. U.S. ex

   rel. Wilson, 545 U.S. 409, 415, 125 S. Ct. 2444, 162 L. Ed. 2d 390 (2005). For that reason, courts

   must not “interpret a legal text ‘in a vacuum,’ but instead discern ‘the meaning of a statement’ in

   a law from the ‘context in which it is made.’” United States v. Tate, 999 F.3d 374, 378 (6th Cir.



   2
    While the government concedes that Calabrese participated in several FSA-eligible programs, neither the government
   nor Calabrese has provided documentation from the BOP that would establish the number of time credits Calabrese
   earned as a result of his participation.


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2021) (internal citations omitted); accord United States v. Meyers, 952 F.2d 914, 918 (6th Cir.

1992) (“[T]o correctly interpret statutory language, we must look at the specific . . . language as

well as the language and design of the statute as a whole.”).

       Calabrese contends that the approximately eight months of FSA credit he claims he earned

should be applied to reduce his remaining term of supervised release. (See generally Doc. No.

153.) He insists that the plain text of the FSA commands such a result and points to one case from

the Eastern District of Tennessee finding the same. (Doc. No. 153, at 3 (citing Dyer v. Fulgam,

No. 1:21-cv-299, 2022 WL 1598249 (E.D. Tenn. May 20, 2022), appeal docketed, No. 22-5608

(6th Cir. July 19, 2022)).)

       In Dyer, the court held quite unequivocally that “[c]ourts must presume that a legislature

says in a statute what it means and means in a statute what it says there. . . . Therefore, the

unambiguous, mandatory language of the statute provides that earned-time credits may be applied

to a term of supervised release.” Dyer, 2022 WL 1598249, at *3 (citation and internal quotation

marks omitted). Since Dyer, other courts to consider this issue have declined to follow Dyer’s

reasoning. Orasco v. Yates, No. 2:22-cv-156, 2022 WL 18027627, at *3 n.4 (E.D. Ark. Dec. 12,

2022) (“[W]hile the [FSA’s time credit] program permits early transfer to supervised release, it

does not grant the BOP authority to reduce or shorten a prisoner’s term of supervised release.”);

Harrison v. Fed. Bureau of Prisons, No. 22-14312, 2022 WL 17093441, at *1 (S.D. Fla. Nov. 21,

2022); Pillow v. Bureau of Prisons, No. 4:22-cv-713, 2022 WL 13892877, at *7 (E.D. Ark. Oct.

21, 2022); see also Mero v. Yates, No. 2:22-cv-72, 2022 WL 17653228, at *1 n.2 (E.D. Ark. Sept.

27, 2022) (“The ‘earned time credits’ [defendant] seeks affect when he is eligible for transfer into

prelease custody, but do not reduce his sentence or his term of supervised release.”); Komando v.

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Luna, No. 22-cv-425, 2023 WL 310580, at *3 (D.N.H. Jan. 13, 2023) (“FSA time credits, when

applied, advance the date when the prisoner will be placed in ‘prerelease custody’ (including home

confinement or residential reentry facilities), or accelerate the date when the prisoner will leave

BOP custody to start a term of court-imposed supervised release.”). If § 3632(d)(4)(C) provided

that time credits shall be applied to reduce a term of supervised release, then the Court might agree

with the decision reached in Dryer. But the statute provides that time credits shall be applied

toward supervised release. Use of the word “toward” means that credits can be applied to bring

“time in prerelease custody or supervised release” closer to occurring because credits applied

“toward” something generally means to bring that something closer to happening. Black’s Law

Dictionary (11th ed. 2019) (defining “toward,” in relevant part, as “in the direction of; on a course

or line leading to (some place or something)”).

       Further, Section 3632(d)(4)(C) instructs the BOP to transfer eligible prisoners into

prerelease custody or supervised release, citing Section 3624(g), which defines “eligible prisoners”

as one who “has earned time credits under the [FSA] in an amount that is equal to the remainder

of the prisoner’s imposed term of imprisonment.” This clearly provides that the time credits are to

reduce the prisoner’s prison term.

       A look at the language used in other provisions of Section 3624(g) further illustrates the

point. Specifically, § 3624(g)(3) states:

       Supervised release.--If the sentencing court included as part of the prisoner’s
       sentence a requirement that the prisoner be placed on a term of supervised release
       after imprisonment pursuant to section 3583, the Director of the Bureau of Prisons
       may transfer the prisoner to begin any such term of supervised release at an earlier
       date, not to exceed 12 months, based on the application of time credits under section
       3632.


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18 U.S.C. § 3624(g)(3). This provision does not suggest that the term of supervised release might

be reduced (or eliminated) because of time credits. Rather it contemplated that the prisoner will be

released to begin any such term of supervised release that was include in a prisoner’s sentence.

Plainly, the FSA allows a prisoner to either complete the service of their sentence in prerelease

custody or complete their term of supervised release at an earlier date by transferring the prisoner

to supervised release at an earlier date—the FSA does not allow a prisoner to reduce the imposed

length of supervised release. Harrison, 2022 WL 17093441, at *1 (“Based on the plain text of the

statute, FSA credits cannot be used to shorten a term of supervised release. Rather, the credits can

only be used to allow early transfer to supervised release.”)

       That the time credits do not apply to reduce a term of supervised release finds further

support in § 3624(e), which provides, in part:

       Supervision after release.—A prisoner whose sentence includes a term of
       supervised release after imprisonment shall be released by the Bureau of Prisons to
       the supervision of a probation officer who shall, during the term imposed, supervise
       the person released to the degree warranted by the conditions specified by the
       sentencing court.

18 U.S.C. § 3624(e) (emphasis added.) There is nothing to suggest that there will ever be any

reduction to the court-imposed term of supervised release using FSA time credits—only that the

term imposed would begin earlier if FSA time credits were applied to the prison term.

       To be sure, reading Section 3632(d)(4)(C) otherwise would lead to absurd results. See

United States v. Fitzgerald, 906 F.3d 437, 447 (6th Cir. 2018) (“[A]bsurd results are to be avoided,

[and the Court] should not construe a statute to produce an absurd result that we are confident

Congress did not intend.” (internal citation and quotation marks omitted)). Most obvious, reading

“toward time in prerelease custody or supervised release” to mean FSA credits shall reduce the

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   overall terms of either prerelease custody or supervised release would write out any mechanism in

   the statute for FSA credits to reduce an eligible prisoner’s time in custody in prison, which is the

   intended incentive behind the FSA time credits.3 Compare 18 U.S.C. § 3632(a) (requiring BOP to

   provide recidivism-reduction programs), with 18 U.S.C. § 3632(d) (requiring BOP to provide

   incentives for prisoners to participate in recidivism-reduction programs). This Court finds it

   doubtful that Congress believed prisoners would be incentivized to participate in FSA-eligible

   programs with the promise of shorter periods of home confinement or supervised release rather

   than shorter periods of custody in prisons. Thus, this Court finds that FSA credits cannot be used

   to reduce a term of supervised release.


III.     CONCLUSION

            For the foregoing reasons, Calabrese’s motion to apply FSA credits to reduce his term of

   supervised release is DENIED.

            IT IS SO ORDERED.


       Dated: February 13, 2023
                                                           HONORABLE SARA LIOI
                                                           UNITED STATES DISTRICT JUDGE




   3
     Any potential argument that “towards time in prelease custody” is read to reduce time imprisoned, while “toward . .
   . supervised release” is read to reduce a term of supervised release would require an inconsistent definition of
   “toward,” which runs up against the presumption of consistent usage in statutes. Delek US Holdings, Inc. v. United
   States, 32 F.4th 495, 500 (6th Cir. 2022) (“[C]ourts presume that the same words in the same statute mean the same
   thing.” (quoting In re Jackson Masonry, LLC, 906 F.3d 494, 501 (6th Cir. 2018)).


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